      Case 2:19-mc-03869-WKW-WC Document 3 Filed 05/24/19 Page 1 of 2




                      IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,

                 v.                                  MISC NO.    2:11- lyg,- o 38611
LEAR CORPORATION,
MONTGOMERY,AL,

                        Garnishee,

QUANESHA JOHNSON,

                       Defendant.


                                      WRIT OF GARNISHMENT

GREETINGS TO:          LEAR CORPORATION
                       200 FOLMAR PARKWAY
                       MONTGOMERY,AL 36105

        An Application for a Writ of Garnishment against the property of Qnanesha Johnson,

defendant,has been filed with this Court. A Judgment has been entered against the above-named

defendant in the amount of$137,116.24,plus costs and interest. The balance due on the Judgment

as of May 22, 2019 is $96,240.64, with interest accruing at the rate of0 percent per annum until

paid in full.

        You are required by law to answer in writing, under oath, within ten(10) days, whether-

or-not you have in your custody, control or possession of any property owned by the debtor,

including non-exempt, disposal earnings.

       Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.
      Case 2:19-mc-03869-WKW-WC Document 3 Filed 05/24/19 Page 2 of 2




          You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the United States District Clerk at: Clerk, V. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110,Montgomery,Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

4321 Brewer Road,Montgomery,Alabama,36108 and upon the United States Attorney,Post

Office Box 197, Montgomery, Alabama 36101.

       Under the law,there is property, which is exemptfrom this Writ ofGarnighment. Property

which is exempt and which is not subject to this Order is listed on the attached Debt Collection

Notice.

       Pursuant to Title 15 U.S.C.§1674,a Garnishee is prohibited from discharging a defendant

from emplOyment by-reasoh-ofthe fact that his earnings have been subject to garnishment:

       If you fail to answer this Writ or to withhold property in accordance with this Writ, the.

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with tlAs Writ,the Court may enter a Judgment against you for the value ofthe debtor's non-exempt

property. It is unlawful to pay or deliver to the defendant any item attached by this Writ.

                                                       Debra P. hackett
                                             UNITE
                                              Ey .
                                               /114y 49, ,20/47
